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          IN THE UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF TEXAS
                     HOUSTON DIVISION                    ENTERED
IN RE:                     §                              12/29/2017
                           §
2020 McGowan, LLC,         §     CASE NO.   17-32788-H2-11
                           §
     DEBTOR                §

                 ORDER ON MOTIONS FOR RELIEF FROM STAY
                      [Relates to Docket #36, #37, and #38]

    On the 7th day of December, 2017, came on for hearing motions for relief from

stay filed by Stallion Funding, L.L.C. et al. including (1) Motion for Relief from the

Stay Regarding Non-Exempt Property (Lots 1-12, Block 1, Viewpoint Square Replat

No. 2) [Doc. 36], (2) Motion for Relief from the Stay Regarding Non-Exempt

Property (Lots 13-17, Block 1, Viewpoint Square Replat No. 2) [Doc. 37], and

Motion for Relief from the Stay Regarding Non-Exempt Property (Lots 18-23, Block

1, Viewpoint Square Replat No. 2). [Doc. 38] After the commencement and

presentation of evidence by Stallion Funding, L.L.C. et al., Movants and Debtor

reached an interim agreement.

    By AGREEMENT of the parties, IT IS ORDERED that the automatic stay of 11

U.S.C. § 362(a) is modified, and shall remain in place except as provided below:

    a. Stallion Funding, LLC and other holders of subject properties and Deeds of
       Trust may immediately post the improved real property they assert a lien by a
       Deed of Trust for foreclosure for January, 2018, and each successive month
       thereafter, but shall not conduct a scheduled foreclose unless there is a
       violation of any of the terms of this Order;

    b. The Debtor shall pay adequate protection to Stallion Funding, LLC in the
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        amount of $13,500.00 each week beginning Friday, December 22, 2017;

    c. The weekly adequate protection payments shall be made by cash or bank
       cashier’s check by twelve-noon commencing Friday, December 22, 2017, and
       each successive Friday thereafter thru and including February 2, 2017; each
       adequate protection payment made to Stallion Funding L.L.C. shall be
       tendered and timely delivered to Stallion’s counsel, William S. Chesney, III,
       at 9225 Katy Freeway, Ste. 250, Houston, Texas 77024;

    d. The Debtor shall maintain casualty and liability insurance compliant with the
       existing loan documentation, naming Stallion Funding, L.L.C. and the U.S.
       Trustee as additional insureds, and provide proof of coverage to Stallion
       Funding, L.L.C. and the U.S. Trustee within three (3) days from the date of
       this Order;

    e. In the event of default of the payment of adequate protection payments by
       Debtor to Stallion Funding, L.L.C. as provided in this Order, the stay shall
       automatically lift as to the subject properties and Stallion Funding, L.L.C.
       shall be entitled to proceed and exercise its state court remedies including
       foreclosure of the applicable Deeds of Trust.

    f. Stallion Funding, LLC shall provide unfettered access to the properties to the
       Debtor.
    And it is further IT IS ORDERED that notice of any alleged default shall first

    be given to the alleged defaulting party, with any disputes to be determined by

    the Court on an emergency basis by Motion filed with the Court, and

        IT IS ORDERED that a continued hearing on the three (3) Motions filed by

    Stallion Funding, L.L.C. shall be held on February 7, 2018 at 2:00pm.


        Dated: _____________
        Signed: December 29, 2017.

                                              ____________________________________
                                     ___________________________________
                                               DAVID R. JONES
                                     UNITED STATES     BANKRUPTCY
                                               UNITED STATES          JUDGE
                                                              BANKRUPTCY JUDGE
